Case 5:25-cv-00951-PCP   Document 116-2   Filed 05/23/25   Page 1 of 22




                Exhibit 2
     Case 5:25-cv-00951-PCP            Document 116-2      Filed 05/23/25     Page 2 of 22




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                SAN JOSE DIVISION


  UNITED STATES OF AMERICA,                           Case No. 5:25-cv-00951 (PCP)

                         Plaintiff,

         v.

  HEWLETT PACKARD ENTERPRISE CO.
  and JUNIPER NETWORKS, INC.,
                                                      Judge:            P. Casey Pitts
                         Defendants.
                                                      Action Filed:     January 30, 2025




   GARTNER, INC.’S OBJECTIONS AND RESPONSES TO THE UNITED STATES’
           SUBPOENA FOR THE PRODUCTION OF DOCUMENTS

       Pursuant to Federal Rules of Civil Procedure 45(d)(2)(B), and the Local Rules of the United

States District Court for the Northern District of California (the “Local Rules”), Gartner, Inc.

(“Gartner”), by and through its attorneys, submits the following Objections and Responses (the

“Responses”) to the United States’ Subpoena for the production of documents, dated March 27,

2025 (the “Subpoena”).

                                       GENERAL OBJECTIONS

       Gartner makes the following General Objections to the Subpoena, including each Request

for Production therein (each, a “Request” and collectively, the “Requests”). These General

Objections apply to, and are incorporated by reference in, each Response. Gartner’s specific

objections to any enumerated topic are not intended to preclude, override, or withdraw any of the

General Objections to that enumerated topic. The assertion of the same, similar, or additional

objections in response to a specific Request does not waive any of Gartner’s General Objections.




                                                1
        Case 5:25-cv-00951-PCP         Document 116-2         Filed 05/23/25      Page 3 of 22




         1.     Gartner objects to any instruction, definition, or direction in the Subpoena to the

extent it differs from or alters the definitions under the Federal Rules of Civil Procedure, Federal

Rules of Evidence, or the Local Rules of the Court where the above-captioned action is pending

or the Court in which compliance with the Subpoena is required, or to the extent it seeks to impose

obligations on Gartner that exceed those set forth in Federal Rules of Civil Procedure, Federal

Rules of Evidence, or the applicable Local Rules.

         2.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent that it calls for the production of documents or information that

relate to matters not raised by the pleadings, to the extent that they are not material and necessary

to the prosecution or defense of this action, and to the extent that they are not reasonably calculated

to lead to the discovery of admissible evidence.

         3.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it calls for information that is not proportional to the needs of the

case.

         4.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, as unduly burdensome to the extent it calls for information equally available

from HPE and Juniper, parties to this litigation.

         5.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it requires that Gartner create documents not already in existence,

or purports to impose other obligations beyond, or inconsistent with, those imposed by the Federal

Rules, the applicable Local Rules, the applicable Court’s individual rules or orders, or any other

applicable statute, regulation, rule, or court order.




                                                    2
     Case 5:25-cv-00951-PCP           Document 116-2         Filed 05/23/25      Page 4 of 22




       6.      Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent that it is vague, ambiguous, overly broad, unduly burdensome, or

harassing.

       7.      Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent that it is duplicative and, thus, overly burdensome.

       8.      Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it seeks expert work product from a non-party in violation of Federal

Rules of Civil Procedure 26(a)(2)(B) and 26(b)(4) as well as Federal Rule of Evidence 702.

       9.      Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it seeks documents prepared in anticipation of litigation or otherwise

protected from disclosure by the attorney-client privilege, the work product doctrine, or any other

applicable privilege, protection, immunity, or rule (“Privileged Information”). Gartner will not

disclose any Privileged Information in response to any Request. Gartner does not waive, and

intends to preserve, any applicable privilege. Any production of such documents shall have been

inadvertent, and shall not constitute waiver of the attorney-client privilege, the work product

doctrine, or any other applicable privilege or immunity from disclosure. To the extent any of the

Requests can be interpreted in some form or manner to seek Privileged Information, Gartner

objects to the Requests and will not produce the requested information.

       10.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it assumes disputed facts or legal conclusions in defining the

documents, data, or communications requested. Gartner denies any such disputed facts or legal

conclusions to the extent assumed by the Requests. Any response or objection by Gartner to any

such Request is without prejudice to this objection.




                                                  3
     Case 5:25-cv-00951-PCP           Document 116-2        Filed 05/23/25      Page 5 of 22




       11.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it purports to require production of documents, data, or

communications that are not within Gartner’s possession, custody, or control. Gartner will only

produce responsive documents and communications within its possession, custody, and/or control.

       12.     Pursuant to Federal Rule of Civil Procedure 26(b)(2)(B), Gartner objects to each

Request, including the Definitions and Instructions provided therein, to the extent it would require

Gartner to restore and/or search data sources that are not reasonably accessible or to merge data

from multiple sources, as such obligations would subject Gartner to undue burden and expense.

       13.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, as unduly burdensome to the extent it seeks documents and communications

already available to the United States, in the possession, custody, or control of the United States,

contained in public records, or otherwise in the public domain and/or accessible to all parties.

       14.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent that it seeks the production of documents constituting confidential

or non-public information, including proprietary or trade secret information, and such information

provided to Gartner by WLAN industry participants and other third parties on a confidential basis.

To the extent that any Request seeks such documents, Gartner will, subject to and without waiving

its objections, produce them only in accordance with the terms of the Joint Stipulation and

Amended Protective Order, ECF No. 107 (the “Protective Order”), or any further orders of the

Court governing confidentiality in this litigation.

       15.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it requests “all documents” as ambiguous, overly broad, and unduly

burdensome.




                                                  4
     Case 5:25-cv-00951-PCP           Document 116-2           Filed 05/23/25   Page 6 of 22




       16.     Gartner objects to each Request as overly broad and unduly burdensome as to the

time period requested.

       17.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it seeks information, the disclosure of which would violate

applicable law, including but not limited to, privacy laws. In providing any responses, Gartner

does so only to the extent allowable under applicable law.

       18.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it would require the production of documents located outside of the

United States in contravention of any foreign law, applicable international treaty or convention,

data privacy law, conflict of law rule, or comity principle.

       19.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent that it seeks documents or information, the disclosure of which is

prohibited by contractual obligations or agreements between Gartner and third parties.

       20.     Gartner objects to each Request and to the Requests as a whole as overly broad, not

reasonably calculated to lead to the discovery of admissible evidence, and imposing undue burden

and expense on Gartner as a non-party pursuant to Fed. R. Civ. P. 45(d). Gartner anticipates that

complying with the requests would consume extensive financial resources and would require

Gartner to expend significant amounts of time and human capital.

       21.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it purports to require the production of electronically stored

documents, data, or communications beyond that required by the Federal Rules, the Local Rules,

the Protective Order, or the Stipulated Order Regarding Discovery of Electronically Stored




                                                  5
     Case 5:25-cv-00951-PCP           Document 116-2         Filed 05/23/25      Page 7 of 22




Information, ECF No. 81 (the “ESI Order”), as well as any subsequent protective orders or ESI

orders entered in this case.

       22.     Gartner objects to each Request, including the Definitions and Instructions

provided therein, to the extent it seeks documents and information not relevant to the claim or

defense of any party and not relevant to the subject matter involved in this action.

       23.     In responding and objecting to these Requests, Gartner does not concede that any

of the documents, data, and communications sought or provided are relevant to the claims or

defenses of any party, reasonably calculated to lead to the discovery of admissible evidence, or

admissible in evidence.

       24.     In responding to these Requests, Gartner does not waive any objections Gartner

may later assert, including but not limited to, competency, relevance, materiality, and admissibility.

Gartner expressly reserves the right to object to the use of any answers below in any subsequent

proceedings or any other action. Gartner further reserves the right to object to additional discovery

into the subject matter of the Requests.

       25.     A response that Gartner shall disclose the documents, data, or communications

responsive to any Request is not, and shall not be construed as, a representation that such

documents, data, or communications exist. Such response indicates only that Gartner will disclose

all such non-privileged documents, data, or communications that it locates through good-faith

efforts and reasonable diligence, to the extent any such non-privileged documents, data, or

communications exist, if there is otherwise no objection to the Request.

       26.     Gartner reserves the right to supplement, alter, or amend these objections and

responses if necessary or appropriate.




                                                  6
     Case 5:25-cv-00951-PCP           Document 116-2        Filed 05/23/25      Page 8 of 22




                                   OBJECTIONS TO DEFINITIONS

       1.      Gartner objects to all definitions to the extent they purport to impose a greater

burden on Gartner than is otherwise permissible under the law, including without limitation the

Federal Rules of Civil Procedure and the Local Rules, or to the extent that they are outside the

scope of the Protective Order, the ESI Order, or any other order or opinion of this Court.

       2.      Gartner objects to the definitions to the extent they purport to seek ESI that is not

in the possession, custody, or control of Gartner.

       3.      Gartner objects to the definitions of “you” and “your” and “the Company” as vague,

ambiguous, overly broad, and unduly burdensome. Gartner further objects to these definitions

because the incorporation of “its domestic and foreign parents, predecessors, divisions,

subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers, employees,

agents, and representatives of the foregoing” into the definitions renders each Request

incorporating any of the defined terms overly broad and unduly burdensome, as they call for

information that is not relevant to the claim or defense of any party, not relevant to the subject

matter involved in this action and not reasonably calculated to lead to the discovery of admissible

evidence, and they improperly purport to seek information from distinct persons not controlled by

Gartner. In responding to the Requests, Gartner will interpret “you,” “your,” or “the Company” to

refer to Gartner. Gartner responds only for Gartner, Inc., and no other entity or individual,

including any affiliates, unless otherwise specified.

       4.      Gartner objects to the definitions of “Hewlett Packard Enterprise Co.” and “HPE”

as vague, ambiguous, overly broad, and unduly burdensome. Gartner further objects to these

definitions because the incorporation of “domestic and foreign parents, predecessors, divisions,

subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers, employees,




                                                 7
     Case 5:25-cv-00951-PCP          Document 116-2        Filed 05/23/25      Page 9 of 22




agents, and representatives of the foregoing” into the definitions renders each Request

incorporating any of the defined terms overly broad and unduly burdensome, as they call for

information that is unknown to Gartner, not relevant to the claim or defense of any party, not

relevant to the subject matter involved in this action and not reasonably calculated to lead to the

discovery of admissible evidence. In responding to the Requests, Gartner will interpret “Hewlett

Packard Enterprise Co.” and “HPE” to refer to Hewlett Packard Enterprise Co.

       5.      Gartner objects to the definitions of “Juniper Networks, Inc.,” “Juniper Networks,”

and “Juniper” as vague, ambiguous, overly broad, and unduly burdensome. Gartner further objects

to these definitions because the incorporation of “domestic and foreign parents, predecessors,

divisions, subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers,

employees, agents, and representatives of the foregoing” into the definitions renders each Request

incorporating any of the defined terms overly broad and unduly burdensome, as they call for

information that is unknown to Gartner, not relevant to the claim or defense of any party, not

relevant to the subject matter involved in this action and not reasonably calculated to lead to the

discovery of admissible evidence. In responding to the Requests, Gartner will interpret “Juniper

Networks, Inc.,” “Juniper Networks,” and “Juniper” to refer to Juniper Networks, Inc.

       6.      Gartner objects to the definitions of “Cisco Systems, Inc.” and “Cisco” as vague,

ambiguous, overly broad, and unduly burdensome. Gartner further objects to these definitions

because the incorporation of “domestic and foreign parents, predecessors, divisions, subsidiaries,

affiliates, partnerships and joint ventures, and all directors, officers, employees, agents, and

representatives of the foregoing” into the definitions renders each Request incorporating any of

the defined terms overly broad and unduly burdensome, as they call for information that is

unknown to Gartner, not relevant to the claim or defense of any party, not relevant to the subject




                                                8
    Case 5:25-cv-00951-PCP           Document 116-2        Filed 05/23/25     Page 10 of 22




matter involved in this action and not reasonably calculated to lead to the discovery of admissible

evidence. In responding to the Requests, Gartner will interpret “Cisco Systems, Inc.” and “Cisco”

to refer to Cisco Systems, Inc.

       7.      Gartner objects to the definition of “Investigation” because it is vague, ambiguous,

and overly broad.

       8.      Gartner objects to the definition of “Relevant Product” because it is vague,

ambiguous, overly broad, and unduly burdensome. Gartner further objects to these definitions

because the incorporation of “including wireless access points; the separate hardware or advanced

software systems to monitor and manage them; related logistical support, including security

updates and patches; and all hardware and software relating to wireless local area networking” into

the definition renders each Request incorporating the defined term vague, ambiguous, overly broad

and unduly burdensome.

       9.      Gartner objects to the definition of “Elements of Compensation Value” because it

is vague, ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence. Gartner further objects to this definition because it seeks

documents and information not relevant to the claim or defense of any party and not relevant to

the subject matter involved in this action.

                                  OBJECTIONS TO INSTRUCTIONS

       1.      Gartner objects to each Instruction to the extent it requires Gartner to divulge

Privileged Information.

       2.      Gartner objects to each Instruction to the extent it requires more than is obligated

under the Federal Rules of Civil Procedure or this Court’s procedures and Local Rules.




                                                9
    Case 5:25-cv-00951-PCP            Document 116-2        Filed 05/23/25      Page 11 of 22




       3.      Gartner objects to each Instruction to the extent it requires more than is obligated

under any order associated with ESI that has been entered in this case, including the ESI Order.

       4.      Gartner objects to each Instruction to the extent it requires production of documents

not in the possession, custody, or control of Gartner.

       5.      Gartner objects to each Instruction to the extent it purports to require Gartner to

create documents or data that do not already exist in the ordinary course of business.

       6.      Gartner objects to Instructions 1–11 to the extent they impose greater obligations

on Gartner than required under the Local Rules, Federal Rules of Civil Procedure, or the Court’s

orders, including the ESI Order.

       7.      Gartner objects to Instruction 2 as overly broad and unduly burdensome as to the

time period requested.

       8.      Gartner objects to Instruction 9 because it is vague, overly broad, and unduly

burdensome.

       9.      Gartner objects to Instruction 10 because it is unduly burdensome, unreasonably

cumulative, and duplicative of discovery already sought and/or obtained in this case, as it calls for

production from Gartner, a non-party, of documents already in the possession of the United States,

or already produced in this litigation.

                             SPECIFIC RESPONSES AND OBJECTIONS

       Subject to and without waiving the above General Objections, Objections to Definitions,

and Objections to Instructions, which objections are deemed incorporated into each response as if

set forth in full therein, Gartner objects and responds to the specific Requests as follows:

Request No. 1:

       Documents sufficient to show each of the Elements of Compensation Value, separately and
       in the aggregate, received each calendar year for the period 2019 through 2024 from or on
       behalf of HPE.


                                                 10
    Case 5:25-cv-00951-PCP            Document 116-2        Filed 05/23/25      Page 12 of 22




Response to Request No. 1:

       Gartner incorporates each and every General Objection, Objection to Definitions, and

Objection to Instructions as though each were specifically stated herein. Gartner objects to this

Request as overly broad and unduly burdensome, especially given Gartner’s status as a non-party

to this case. This Request seeks to have Gartner produce payment data for a six-year period for

HPE, regardless of whether the engagement with Gartner was related to WLAN, which imposes

an undue burden and expense on Gartner, a non-party to this case. Gartner objects to the time

period specified in this Request as arbitrary, excessive, and overbroad, and objects to the extent it

seeks to impose obligations on a non-party beyond those allowed under the Federal Rules of Civil

Procedure, including Rule 45.

       Further, Gartner objects to this Request on the basis that it is unreasonably cumulative and

duplicative of discovery already sought and/or obtained in this case. Gartner objects to this

Request as unduly burdensome because the information requested is equally available from HPE,

a party to this litigation. Gartner objects to this Request to the extent that it seeks documents or

information that is not within its possession, custody, or control. Gartner further objects to this

Request because it includes the defined terms “HPE” and “Elements of Compensation Value,”

which are vague, ambiguous, overly broad, unduly burdensome, and not reasonably calculated to

lead to the discovery of admissible evidence. Gartner further objects to this Request because it

seeks documents and information not relevant to the claim or defense of any party and not relevant

to the subject matter involved in this action.

       Gartner objects this Request to the extent that it seeks the production of documents

constituting confidential or non-public information, including such information provided to

Gartner by WLAN industry participants and other third-parties on a confidential basis.




                                                 11
    Case 5:25-cv-00951-PCP           Document 116-2         Filed 05/23/25      Page 13 of 22




       Subject to and without waiving the foregoing objections, Gartner is willing to meet and

confer on this Request.

Request No. 2:

       Documents sufficient to show each of the Elements of Compensation Value, separately and
       in the aggregate, received each calendar year for the period 2019 through 2024 from or on
       behalf of Juniper.

Response to Request No. 2:

       Gartner incorporates each and every General Objection, Objection to Definitions, and

Objection to Instructions as though each were specifically stated herein. Gartner objects to this

Request as overly broad and unduly burdensome, especially given Gartner’s status as a non-party

to this case. This Request seeks to have Gartner produce payment data for a six-year period for

Juniper, regardless of whether the engagement with Gartner was related to WLAN, which imposes

an undue burden and expense on Gartner, a non-party to this case. Gartner objects to the time

period specified in this Request as arbitrary, excessive, and overbroad, and objects to the extent it

seeks to impose obligations on a non-party beyond those allowed under the Federal Rules of Civil

Procedure, including Rule 45.

       Further, Gartner objects to this Request on the basis that it is unreasonably cumulative and

duplicative of discovery already sought and/or obtained in this case. Gartner objects to this

Request as unduly burdensome because the information requested is equally available from

Juniper, a party to this litigation. Gartner objects to this Request to the extent that it seeks

documents or information that is not within its possession, custody, or control. Gartner further

objects to this Request because it includes the defined terms “Juniper” and “Elements of

Compensation Value,” which are vague, ambiguous, overly broad, unduly burdensome, and not

reasonably calculated to lead to the discovery of admissible evidence. Gartner further objects to




                                                 12
    Case 5:25-cv-00951-PCP           Document 116-2         Filed 05/23/25    Page 14 of 22




this Request because it seeks documents and information not relevant to the claim or defense of

any party and not relevant to the subject matter involved in this action.

       Gartner objects this Request to the extent that it seeks the production of documents

constituting confidential or non-public information, including such information provided to

Gartner by WLAN industry participants and other third-parties on a confidential basis.

       Subject to and without waiving the foregoing objections, Gartner is willing to meet and

confer on this Request.

Request No. 3:

       Documents sufficient to show each of the Elements of Compensation Value, separately and
       in the aggregate, received each calendar year for the period 2019 through 2024 from or on
       behalf of Cisco.

Response to Request No. 3:

       Gartner incorporates each and every General Objection, Objection to Definitions, and

Objection to Instructions as though each were specifically stated herein. Gartner objects to this

Request as overly broad and unduly burdensome, especially given Gartner’s status as a non-party

to this case. This Request seeks to have Gartner produce payment data for a six-year period for

Cisco, a non-party, regardless of whether the engagement with Gartner was related to WLAN,

which imposes an undue burden and expense on Gartner, a non-party to this case. Gartner objects

to the time period specified in this Request as arbitrary, excessive, and overbroad, and objects to

the extent it seeks to impose obligations on a non-party beyond those allowed under the Federal

Rules of Civil Procedure, including Rule 45.

       Gartner objects to this Request to the extent that it seeks documents or information that is

not within its possession, custody, or control. Gartner further objects to this Request because it

includes the defined terms “Cisco” and “Elements of Compensation Value,” which are vague,

ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to the


                                                 13
    Case 5:25-cv-00951-PCP            Document 116-2         Filed 05/23/25      Page 15 of 22




discovery of admissible evidence. Gartner further objects to this Request because it seeks

documents and information not relevant to the claim or defense of any party and not relevant to

the subject matter involved in this action. Gartner objects this Request to the extent that it seeks

the production of documents constituting confidential or non-public information, including such

information provided to Gartner by WLAN industry participants and other third-parties on a

confidential basis.

       Subject to and without waiving the foregoing objections, Gartner is willing to meet and

confer on this Request.

Request No. 4:

       Documents sufficient to show each of the Elements of Compensation Value, separately
       and in the aggregate, received each calendar year for the period 2019 through 2024 from
       or on behalf of in the aggregate, all firms that sell wireless local area networking
       hardware, software, and any Relevant Product. Each such firm includes for the purpose of
       this Specification the firm’s domestic and foreign parents, predecessors, divisions,
       subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers,
       employees, agents, and representatives of the foregoing. The terms “parent,”
       “subsidiary,” “affiliate,” and “joint venture” refer to any person in which there is partial
       (25 percent or more) or total ownership or control between such firm and any other
       person.

Response to Request No. 4:

       Gartner incorporates each and every General Objection, Objection to Definitions, and

Objection to Instructions as though each were specifically stated herein. Gartner objects to this

Request as duplicative, overly broad and unduly burdensome, especially given Gartner’s status as

a non-party to this case. This Request seeks to have Gartner produce payment data for a six-year

period for any company that sells local area networking hardware, software or any “Relevant

Product” along with payment data relating to all parents, subsidiaries, affiliates, and joint-ventures,

regardless of whether the putative engagement with Gartner was related to WLAN or whether the

parents, subsidiaries, affiliates, and/or joint ventures even participate in the WLAN industry, which



                                                  14
    Case 5:25-cv-00951-PCP           Document 116-2         Filed 05/23/25     Page 16 of 22




imposes an undue burden and expense on Gartner, a non-party to this case. Gartner objects to the

Request because the terms “the firm’s domestic and foreign parents, predecessors, divisions,

subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers, employees,

agents, and representatives of the foregoing” renders the Request vague, ambiguous, overly broad,

and unduly burdensome.

       Gartner objects to the time period specified in this Request as arbitrary, excessive, and

overbroad, and objects to the extent it seeks to impose obligations on a non-party beyond those

allowed under the Federal Rules of Civil Procedure, including Rule 45. Further, Gartner objects

to this Request on the basis that it is unreasonably cumulative and duplicative of discovery already

sought and/or obtained in this case. Gartner objects to this Request to the extent that it is

cumulative and duplicative of Requests No. 1 and 2.

       Gartner objects this Request to the extent that it seeks the production of documents

constituting confidential or non-public information, including such information provided to

Gartner by WLAN industry participants and other third-parties on a confidential basis.

       Gartner further objects to this Request because it includes the defined term “Elements of

Compensation Value,” which is vague, ambiguous, overly broad, unduly burdensome, and not

reasonably calculated to lead to the discovery of admissible evidence. Gartner further objects to

this Request because it seeks documents and information not relevant to the claim or defense of

any party and not relevant to the subject matter involved in this action.

       Subject to and without waiving the foregoing objections, Gartner is willing to meet and

confer on this Request.

Request No. 5:

       Documents sufficient to show each of the Elements of Compensation Value, separately
       and in the aggregate, received each calendar year for the period 2019 through 2024 from
       or on behalf of Hewlett or Juniper in connection with work performed by Timothy


                                                 15
    Case 5:25-cv-00951-PCP            Document 116-2          Filed 05/23/25      Page 17 of 22




       (“Tim”) Zimmerman, who serves, or has served, as an officer, employee or other
       representative of your Company in connection with your Company’s dealings with firms
       engaged in WLAN, network infrastructure and related businesses.

Response to Request No. 5:

       Gartner incorporates each and every General Objection, Objection to Definitions, and

Objection to Instructions as though each were specifically stated herein. Gartner objects to this

Request as duplicative, overly broad and unduly burdensome, especially given Gartner’s status as

a non-party to this case. This Request seeks to have Gartner produce payment data for a six-year

period for HPE and Juniper, regardless of whether the engagement with Gartner was related to

WLAN, which imposes an undue burden and expense on Gartner, a non-party to this case. Gartner

objects to the time period specified in this Request as arbitrary, excessive, and overbroad, and

objects to the extent it seeks to impose obligations on a non-party beyond those allowed under the

Federal Rules of Civil Procedure, including Rule 45.

       Further, Gartner objects to this Request on the basis that it is unreasonably cumulative and

duplicative of discovery already sought and/or obtained in this case. Gartner objects to this

Request to the extent that it is cumulative and duplicative of Requests No. 1 and 2. Gartner objects

to this Request as unduly burdensome because the information requested is equally available from

HPE and Juniper, parties to this litigation. Gartner objects to this Request to the extent that it seeks

documents or information that is not within its possession, custody, or control. Gartner further

objects to this Request because it includes the defined terms “Juniper” and “Elements of

Compensation Value,” which are vague, ambiguous, overly broad, unduly burdensome, and not

reasonably calculated to lead to the discovery of admissible evidence. Gartner further objects to

this Request because it includes the undefined term “Hewlett,” which is vague, ambiguous, overly

broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

evidence. Gartner objects to the Request because the terms “in connection with your Company’s


                                                  16
    Case 5:25-cv-00951-PCP           Document 116-2         Filed 05/23/25   Page 18 of 22




dealings with firms engaged in WLAN, network infrastructure and related businesses” renders the

Request vague, ambiguous, overly broad, and unduly burdensome. Gartner further objects to this

Request because it seeks documents and information not relevant to the claim or defense of any

party and not relevant to the subject matter involved in this action.

       Gartner objects this Request to the extent that it seeks the production of documents

constituting confidential or non-public information, including such information provided to

Gartner by WLAN industry participants and other third-parties on a confidential basis.

       Subject to and without waiving the foregoing objections, Gartner is willing to meet and

confer on this Request.

Request No. 6:

       Documents sufficient to show the dates on which Mr. Zimmerman met, spoke, or otherwise
       communicated with directors, officers, employees, agents, or representatives of HPE or
       Juniper, and any materials, including data and presentations, he shared with any such
       person.

Response to Request No. 6:

       Gartner incorporates each and every General Objection, Objection to Definitions, and

Objection to Instructions as though each were specifically stated herein. Gartner objects to this

Request as overly broad and unduly burdensome, especially given Gartner’s status as a non-party

to this case. This Request seeks to have Gartner produce communications for a more than six-year

period between Tim Zimmerman and HPE or Juniper, as well as any materials shared with HPE

and Juniper during that period, which imposes an undue burden and expense on Gartner, a non-

party to this case. Gartner objects to the time period specified in this Request as arbitrary,

excessive, and overbroad, and objects to the extent it seeks to impose obligations on a non-party

beyond those allowed under the Federal Rules of Civil Procedure, including Rule 45.




                                                 17
    Case 5:25-cv-00951-PCP           Document 116-2        Filed 05/23/25      Page 19 of 22




       Further, Gartner objects to this Request on the basis that it is unreasonably cumulative and

duplicative of discovery already sought and/or obtained in this case. Gartner objects to this

Request as unduly burdensome because the information requested is equally available from HPE

and Juniper, parties to this litigation. Gartner objects to this Request to the extent that it seeks

documents or information that is not within its possession, custody, or control. Gartner further

objects to this Request because it includes the defined terms “HPE” and “Juniper,” which are

vague, ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to the

discovery of admissible evidence. Gartner further objects to this Request because it seeks

documents and information not relevant to the claim or defense of any party and not relevant to

the subject matter involved in this action.

       Gartner objects this Request to the extent that it seeks the production of documents

constituting confidential or non-public information, including such information provided to

Gartner by WLAN industry participants and other third-parties on a confidential basis.

       Subject to and without waiving the foregoing objections, Gartner is willing to meet and

confer on this Request.

Request No. 7:

       Produce all documents requested by any subpoena issued by HPE or Juniper, and not
       requested by the United States, in the Action (United States v. Hewlett Packard Enterprise
       Co., 25-cv- 0951). For purposes of this request only, Plaintiff incorporates the definitions
       set forth in any such subpoena.

Response to Request No. 7:

       Gartner incorporates each and every General Objection, Objection to Definitions, and

Objection to Instructions as though each were specifically stated herein.          Gartner further

incorporates by reference each and every objection to any subpoena issued by HPE or Juniper, in

United States v. Hewlett Packard Enterprise Co., 25-cv-0951, that Gartner has made in response



                                                18
    Case 5:25-cv-00951-PCP           Document 116-2        Filed 05/23/25      Page 20 of 22




to such subpoena. Gartner objects to this Request as overly broad and unduly burdensome,

especially given Gartner’s status as a non-party to this case. Gartner objects to the time period

specified in this Request as arbitrary, excessive, and overbroad, and objects to the extent it seeks

to impose obligations on Gartner beyond those allowed under the Federal Rules of Civil Procedure,

including Rule 45.

       Further, Gartner objects to this Request on the basis that it is unreasonably cumulative and

duplicative of discovery already sought and/or obtained in this case. Gartner objects to this

Request because it seeks the production of documents constituting confidential or non-public

information, including proprietary and/or trade secret information, relating to third parties with

whom Gartner has contractual and non-contractual obligations to protect, and is not reasonably

calculated to lead to the discovery of admissible evidence. Gartner objects to this Request as

unduly burdensome because the information requested is equally available from HPE and Juniper,

parties to this litigation. Gartner objects to this Request to the extent that it seeks documents or

information that is not within Gartner’s possession, custody, or control. Gartner further objects to

this Request because it includes the defined terms “HPE” and “Juniper,” which are vague,

ambiguous, overly broad, and unduly burdensome and not reasonably calculated to lead to the

discovery of admissible evidence. Gartner further objects to this Request because it seeks

documents and information not relevant to the claim or defense of any party and not relevant to

the subject matter involved in this action.




                                                19
    Case 5:25-cv-00951-PCP        Document 116-2        Filed 05/23/25     Page 21 of 22




       Subject to and without waiving the foregoing objections, Gartner is willing to meet and

confer on this Request.



 Dated: April 10, 2025                         Respectfully submitted,

                                               /s/ Andrew L. Black
                                               Andrew L. Black
                                               BAKER MCKENZIE LLP
                                               815 Connecticut Avenue NW
                                               Washington, DC 20006
                                               Tel: (202) 452-7000
                                               andrew.black@bakermckenzie.com


                                               William Devaney
                                               BAKER MCKENZIE LLP
                                               452 Fifth Avenue
                                               New York, NY 10018
                                               Tel: (212) 626 4100
                                               william.devaney@bakermckenzie.com

                                               Counsel for Gartner, Inc.




                                             20
    Case 5:25-cv-00951-PCP          Document 116-2         Filed 05/23/25      Page 22 of 22




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of April 2025, a true and correct copy of the

foregoing was served via email upon the following:

       Jack G. Lerner (jack.lerner@usdoj.gov)
       Noah Sindell (noah.sindell@usdoj.gov)
       U.S. Department of Justice, Antitrust Division
       450 Fifth ST NW
       Washington, DC 20530
       Telephone: (202) 227-9295




                                                  /s/ Andrew L. Black
                                                  Andrew L. Black
                                                  BAKER MCKENZIE LLP
                                                  815 Connecticut Avenue NW
                                                  Washington, DC 20006
                                                  Tel: (202) 452-7000
                                                  andrew.black@bakermckenzie.com

                                                  Counsel for Gartner, Inc.




                                                21
